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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO



  JANE DOE,

           Plaintiff,                                MOTION TO FILE UNREDACTED
                                                       COMPLAINT UNDER SEAL
  vs.
                                                         Case No. 1:23-CV-00098-CWD
  AARON VON EHLINGER, an individual,
  and PRISCILLA GIDDINGS, an                                   Judge Candy Dale
  individual,

          Defendants.



        Plaintiff, referred herein by the pseudonym “Jane Doe,” by and through her attorneys of

record, pursuant to Idaho Local Rule 5.5(f)(7), and Fed. R. Civ. P. 5.2(f), hereby moves for

permission to file an unredacted copy of the Complaint and Demand for Jury Trial (“Complaint”)

under seal. Specifically, Jane Doe asks to seal the Complaint containing her identity and

identifying information.

        On March 8, 2023, Ms. Doe filed a Complaint with her real name redacted (using only

initials) and a.k.a. Jane Doe. Ms. Doe now seeks to file an unredacted version of the Complaint


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under seal. As set forth below, such a measure is necessary to protect her privacy and safety, and

to prevent annoyance, embarrassment, oppression, and harassment.

       Ms. Doe is a survivor of sexual assault that occurred in March of 2021 when she was still

a teenager. At the time of the assault, Ms. Doe was working as a legislative intern for the Idaho

legislature. Ms. Doe was assaulted by former House Representative, Defendant Aaron von

Ehlinger. The assault led to a House Ethics Committee complaint, investigation, and public

hearing. Throughout that process, the legislature took some measures to protect her identity, in

order to protect her privacy and shield her from further harassment. Thus, she was referred to

publicly as “Jane Doe,” and documents containing her name and other identifying information

were redacted before being released to the public. Likewise, during the criminal proceedings

against von Ehlinger, the state court took measures to protect Jane Doe’s identity by, for example,

instructing the attorneys to use just her initials J.V. in court proceedings and documents.

       Maintaining control of one’s privacy is crucial to the well-being of sexual assault survivors,

especially when it involves information connected to such an intimate and traumatic event. As

alleged in the Complaint, von Ehlinger and/or former House Representative Priscilla Giddings

publicly released information with Ms. Doe’s name and other personal information about her. The

release of her name and personal information retraumatized Ms. Doe and led to public humiliation,

shame and further harassment. The release of her name and personal information also provided

opportunity for others to publicly comment about Ms. Doe and her allegations, including on social

media. Those comments have further retraumatized Ms. Doe and have made her fear for her own

physical safety and the safety of her family.

       According to Idaho Local Rule 5.5(f)(7), “Counsel and the parties are advised to exercise

caution when filing documents that contain… [i]nformation regarding the victim of any criminal



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activity.” von Ehlinger was convicted of raping Ms. Doe and on August 31, 2022, he was sentenced

to 8 to 20 years in prison.

       The Court has discretion to accommodate a Plaintiff's need to proceed pseudonymously

“in special circumstances when the party’s need for anonymity outweighs prejudice to the

opposing party and the public’s interest in knowing the party’s identity.” Does I thru XXIII v.

Advanced Textile Corp., 214 F.3d 1058, 1068–69 (9th Cir. 2000). Courts, including the Ninth

Circuit, also “have permitted plaintiffs to use pseudonyms . . . when identification creates a risk of

retaliatory physical or mental harm” and “the need for anonymity outweighs prejudice to the

opposing party and the public’s interest in knowing the party’s identity.” Advanced Textile, 214 F.

3d at 1068. Here, Defendants will not be prejudiced as they both know the true identity of the

Plaintiff and lose nothing from having to use her pseudonym in this Court proceeding.

Additionally, the public’s interest in knowing her true identity does not outweigh the harm it would

cause to Jane Doe and the risk of retaliatory physical or mental harm.

       Fed. R. Civ. P. 5.2(f) states that “a person making a redacted filing may also file an

unredacted copy under seal.” Thus, for good cause showing, Ms. Doe moves for permission to file

an unredacted copy of the Complaint under seal. She further moves the Court for an Order that

any public filings use the pseudonym Jane Doe when referring to the Plaintiff and otherwise redact

any personal identifying information.

        Dated this 15th day of March, 2023.
                                               STRINDBERG SCHOLNICK BIRCH
                                               HALLAM HARSTAD THORNE

                                               /s/ Erika Birch
                                               Erika Birch
                                               Guy Hallam
                                               Attorneys for Plaintiff




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